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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

DETROIT WILL BREATHE, et al.,

      Plaintiffs,                           Case No. 20-12363
                                            Honorable Laurie J. Michelson
v.

CITY OF DETROIT, et al.,

      Defendants.


          ORDER GRANTING IN PART AND DENYING IN PART
               PLAINTIFFS’ MOTION TO COMPEL [93]


      Detroit Will Breathe and fourteen individuals were involved in protest

activity in the City of Detroit in response to the death of George Floyd. They allege

that Detroit police responded to their demonstrations with excessive force in

violation of their First and Fourth Amendment rights.

      The scope of discovery has been a challenge since the case began. Most

recently, Plaintiffs filed a motion to compel. (ECF No. 93.) After meeting with the

parties in an attempt to resolve or narrow the areas of dispute, the Court ordered

that Defendants respond to Plaintiffs’ motion in the form of a chart, as outlined in

the Court’s January 19, 2022 text order. The chart has been prepared and finalized

by both parties. (ECF Nos. 104 and 105.) On March 28, 2022, the Court held a

hearing on Plaintiffs’ motion to compel.

      For the reasons stated on the record during the hearing, the motion to compel

(ECF No. 93) is GRANTED IN PART. Plaintiffs’ discovery requests for materials
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that pertain to the named Plaintiffs—whether from Defendants’ own files,

subpoenas, search warrants, or investigations—and video materials pertaining to

the protest activity in this case are granted.

      More specifically, Defendants are ORDERED to produce the following that is

in their possession, custody, or control by May 23, 2022:

               Closed and pending use-of-force investigations related to the named

                Plaintiffs.

               Search warrant materials and subpoena information relating to the

                named Plaintiffs.

               All other completed investigations of any kind arising from the

                protest activity for the evenings of May 29–31, June 1–2, June 28,

                July 10, August 22–23, September 5, September 29, and October 23

                involving the named Plaintiffs.

               All requested body camera footage for the officer Defendants and all

                other requested body cam footage, as described in Sections 80–86 of

                the chart (ECF No. 105, PageID.1779–1780) on a rolling basis to

                start immediately and to all be produced by May 23, 2022.

               All surveillance footage including Project Greenlight and Rock

                Security footage.

               All video Defendants agreed to produce as outlined in the Court’s

                July 12, 2021 text order, which includes “all outstanding video




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                evidence subject to a protective order for video that is currently part

                of an internal investigation[.]”

      IT IS FURTHER ORDERED that with respect to any of the video described

above, if it existed at one time but no longer exists, Defendants shall provide an

explanation of why it does not exist.

      IT IS FURTHER ORDERED that Defendants shall:

             Produce cellphones for Plaintiffs Bass and Anest by April 8, 2022.

             Produce all other internal investigations and underlying material

              related to the named Defendants by May 23, 2022.

             Identify the number of unproduced internal investigations of any kind

              by April 22, 2022.

             Produce daily logs, run sheets, and activity logs for the named

              Defendants by May 23, 2022.

             Produce Garrity interviews by May 23, 2022.

             Produce press releases and communications to news sources from

              Defendants Duggan and Craig by May 23, 2022.

             Produce personnel files by May 23, 2022.

             Produce any documents that pertain to possession or use by the named

              Defendants of Long Range Acoustical Devices, rubber bullets, or tear

              gas, and that pertain to who may have authorized them to have that

              weaponry, on the evenings of May 29–31, June 1–2, June 28, July 10,




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             August 22–23, September 5, September 29, and October 23 by May 23,

             2022.

            Produce documents pertaining to the City’s planning and response to

             the protest activity from May 29, 2020 to August 30, 2020, including

             any commands, announcements, or risk assessments, by May 23, 2022.

             If these documents do not exist or are not in Defendants’ possession,

             custody, or control, Defendants must communicate this to Plaintiffs by

             April 22, 2022.

            Produce username or handles of the named Defendants for the

             requested social media sites by May 23, 2022. To the extent these sites

             are private, and Plaintiffs are unable to access the social media

             profiles, Defendants are ordered to produce responsive social media

             posts by June 22, 2022.

            Produce citizen complaints with the limitations outlined by Defendants

             in ECF No. 105 by June 22, 2022.

      IT IS FURTHER ORDERED that, to the extent Defendants claim any sort of

privilege over requested materials, including the categories described above,

Defendants are to submit a privilege log to Plaintiffs by April 22, 2022 as required

by Federal Rule of Civil Procedure 26(b)(5). Defendants are reminded that discovery

that is purely factual and not deliberative in nature is not protected by the

deliberative process privilege. See Hamama v. Adducci, No. 17-11910, 2018 U.S.




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Dist. LEXIS 244849 (E.D. Mich. July 11, 2018); Southwest Metals, Inc. v. City of

Detroit, No. 15-11080, 2016 U.S. Dist. LEXIS 134249 (E.D. Mich. Sept. 29, 2016).

        IT IS FURTHER ORDERED that, with respect to the email production,

Defendants shall contact prior counsel Clark Hill and see if they initiated any email

searches with a vendor, and if so, those emails searches should be produced. Both

parties will then inquire as to the cost of a vendor to assist with email production.

        IT IS FURTHER ORDERED that Plaintiffs will narrow the list of provided

search terms for the emails (ECF No. 93-8, PageID.1328–1330) to ten terms in

addition to the Plaintiffs’ names. Defendants will then run two searches of the

emails for the seven custodians identified for the time period May 29, 2020 to

October 1, 2020. The first search will be a search of all the Plaintiffs’ names. The

second search will be a search of the ten terms identified by Plaintiffs. These

searches should be completed by June 22, 2022 with productions made on a rolling

basis as agreed upon by the parties. The parties will also confer about the benefits

of pursuing these more stream-lined searches or, instead, having Defendants

continue to review and produce emails from the searches run on all of the search

terms provided by Plaintiffs. If the latter, the Court will have a follow-up status

conference to discuss dates for production.

        IT IS FURTHER ORDERED that all emails will be produced by July 12,

2022.

        IT IS FURTHER ORDERED that Plaintiffs will choose 25 requests for

admissions and Defendants will answer those 25 requests for admissions.



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Defendants’ response to these 25 requests are governed by Federal Rule of Civil

Procedure 36.

         Defendants represented that there are no responsive documents in their

possession, custody, or control for the following categories, so the Court will not

order their production:

               Documents or recordings relating to any interrogation of a named

                Plaintiff.

               Documents related to federal assistance provided to Defendants in

                response to the protests.

         Any other categories of documents that may have been requested but which

are not referenced in this order do not need to be produced at this time. If, after

production of this discovery and the completion of some depositions, a showing can

be made that additional discovery is relevant, proportionate, and non-cumulative,

Plaintiffs can seek to make it.

         At this time, the Court is not going to award fees and costs in connection with

this motion. That issue can also be revisited if Defendants fail to comply with this

order.

         SO ORDERED.

         Dated: March 28, 2022


                                            s/Laurie J. Michelson
                                            LAURIE J. MICHELSON
                                            UNITED STATES DISTRICT JUDGE




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